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Exhibit B

 
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Exhibit B: The Audible/Brilliance print-on-demand CD variant
Dear Recipient,

My name is Rose Rothario, I’m a thirty-eight-year-old white female, and I live in Greater
Boston.

In 2015 I saw my first documentary about living kidney donation, and from that point
forward Iwas constantly reminded of the urgent need for kidneys in our country. Equipped with
this new awareness, I set forth on a journey to make a maximum impact on another’s life with
only minimal risk to myself.

I'm grateful to the entire transplant team at MGH, who gave such attentive care from my
very first blood test to the date of our paired exchange. My own childhood was marked by
trauma and abuse; I wasn’t given an opportunity to form secure attachments with my family of
origin. But in adulthood that experience provided a strong sense of empathy. While others might
desire to give to a family member or friend, to me the suffering of strangers is just as real.

A few things about me: I like sailing, camping, jewelry, and cats.

As I prepared to make this gift, what sustained me was the knowledge that my recipient
would be getting a second chance at life. I channeled my energies into imagining and celebrating
YOU.

My gift, you must know, trails no strings. You deserve all that life has to offer, simply
because you exist.

That said, I would love to know more about you. Perhaps we could meet. But I accept any
level of involvement, even if it is none.

Warmly,
- Rose M Rothario

 

 

 
